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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


LA UNION DEL PUEBLO ENTERO et al.,               §
             Plaintiffs                          §
                                                 §
-vs-                                             §                 SA-21-CV-00844-XR
                                                 §
GREGORY W. ABBOTT, IN HIS                        §                 CONSOLIDATED CASES
OFFICIAL CAPACITY AS GOVENOR                     §
OF TEXAS et al.;                                 §
                 Defendants                      §

                                           ORDER

      On this date, the Court considered the motion to compel discovery responses from
Defendant Harris County District Attorney Kim Ogg filed by Plaintiffs OCA-Greater Houston,
League of Women Voters of Texas, REVUP-Texas, and Workers Defense Fund (“Plaintiffs”)
(ECF No. 491).

       The pending motion to compel (ECF No. 491) is set for a hearing on Thursday, January
19, 2023 at 3:00 p.m. in Courtroom H, United States Courthouse, 262 West Nueva, San Antonio,
Texas 78207. If the parties wish to proceed via Zoom, they must notify the Courtroom Deputy,
Sylvia Fernandez, at least 48 hours in advance. In addition to all pending motions, the parties
should be prepared to discuss a new trial date and scheduling order.

       It is so ORDERED.

       SIGNED this 3rd day of January, 2023.




                                                     XAVIER RODRIGUEZ
                                                     UNITED STATES DISTRICT JUDGE
